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                 Exhibit "2"
                  Case 3:23-mc-80037-LB Document 16-3 Filed 03/06/23 Page 2 of 3


Kerry Culpepper

From:                NJDdb_ORDERS_Bongiovanni <tjb_orders@njd.uscourts.gov>
Sent:                Tuesday, December 20, 2022 10:37 AM
To:                  'Ted Behm'; NJDdb_ORDERS_Bongiovanni
Cc:                  Kerry Culpepper; 'Michael Cukor'; skjohnson_atllp.com; Zachary C. Howenstine
Subject:             RE: Bodyguard Productions, Inc., et al. v. RCN Telecom Services, LLC, et al. (Civil Action No. 3:21-
                     cv-15310-GC-TJB ) [IWOV-IDOCS.FID4036765]


Dear Counsel:

Thank you for the email update. Judge Bongiovanni asked that I respond. Judge Bongiovanni will grant RCN’s request,
upon consent, for the parties to submit their respective settlement positions by 1/6/2023. Kindly report back to the
Court by the close of business on 1/6/2023. Thank you and Happy Holidays.

Sincerely,
Dylan Karstadt

From: Ted Behm <EBehm@atllp.com>
Sent: Tuesday, December 20, 2022 3:16 PM
To: NJDdb_ORDERS_Bongiovanni <tjb_orders@njd.uscourts.gov>
Cc: Kerry Culpepper <kculpepper@culpepperip.com>; 'Michael Cukor' <mcukor@mcgearycukor.com>;
skjohnson_atllp.com <skjohnson@atllp.com>; Zachary C. Howenstine <ZHowenstine@atllp.com>
Subject: Bodyguard Productions, Inc., et al. v. RCN Telecom Services, LLC, et al. (Civil Action No. 3:21‐cv‐15310‐GC‐TJB )
[IWOV‐IDOCS.FID4036765]

CAUTION - EXTERNAL:


Dear Judge Bongiovanni:

         This firm represents Defendants (collectively, “RCN”) in the above‐referenced matter. We are writing in response
to the Court’s December 6, 2022 Text Order, directing the parties to advise the Court of the parties’ settlement positions
by today.

        RCN respectfully requests that this deadline be extended to January 6, 2023. Plaintiffs recently made a new
settlement demand in related litigation against an affiliated company, and RCN and its affiliate require additional time to
consider that demand and prepare a response. Holiday schedules are also making this process more time‐
consuming. Counsel for Plaintiffs has advised that Plaintiffs do not oppose this extension.

         If settlement appears unlikely, counsel for the parties will meet and confer to determine whether the parties will
propose an extension of the current February 2, 2023 deadline to advise the Court of objections to discovery requests and
the parties’ positions regarding bifurcation.

Respectfully Submitted,

                                                  /s/ Edward F. Behm, Jr.
                                                  Edward F. Behm, Jr.



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